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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :      Case No. 21-cr-109 (TJK)
                                            :
TAM PHAM,                                   :
                                            :
                       Defendant.           :

                                       NOTICE OF FILING

       The government requests that the attached discovery letter, dated August 23, 2021,
be made part of the record in this case.

                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY
                                                   D.C. Bar No. 415793

                                            By:    /s/ Alison B. Prout
                                                   ALISON B. PROUT
                                                   Assistant United States Attorney
                                                   Georgia Bar No. 141666
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                                                   Atlanta, Georgia 30303
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                                  CERTIFICATE OF SERVICE

         On August 24, 2021, a copy of the foregoing notice and attached discovery letter were
served on counsel for defendant through the Court’s Electronic Filing System and by email with
the listed attachments provided to counsel through the means described in the discovery letter.


                                                   /s/ Alison B. Prout
                                                   Alison B. Prout
                                                   Assistant United States Attorney
